           Case 1:17-cv-12356-PBS Document 170 Filed 07/15/20 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

Travis Lane,                           )
Richard Palmer, and                    )
Lea Sutherland-Doane,                  )
as Adm. Estate of David Sutherland,    )
       Plaintiffs                      )
v.                                     )
                                       )           Civil Action No. 1:17 CV 12356-PBS
United States of America               )
Philip Powell, and                     )
F/V Foxy Lady,                         )
        Defendants                     )


 PLAINTIFF, RICHARD PALMER’S BILL OF COSTS RE. PALMER’S MOTION TO
      COMPEL COMPLIANCE WITH THE COURT’S ORDER (DOC. 159)


Date           Activity                    Hours         Rate           Expense

7/7/2020       Review Gillis’s Email       .25           $350/hour      $87.50

7/14/2020      Draft Motion to Compel
               and for Sanctions           2.5           $350/hour      $875.00

TBD            Motion Hearing prep
               and argument                2             $350/hour      $700

Total                                                                   $1,662.50


                                                                                    Plaintiffs,
                                                                            By their attorney,



                                                        ___/s/ Joseph M. Orlando, Jr., Esq.___
                                                                  Joseph M. Orlando, Jr., Esq.
                                                                               BBO# 680995
                                                                ORLANDO & ASSOCIATES
                                                                         One Western Avenue
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           Case 1:17-cv-12356-PBS Document 170 Filed 07/15/20 Page 2 of 2



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Certificate of Service

I, Joseph M. Orlando, Jr., Esq. hereby certify that
this document(s) filed through the ECF system will
be sent electronically to the registered participants
as identified in the Notice of Electronic Filing and
paper copies will be sent to counsel for each party
on July 15, 2020.

/s/ Joseph M. Orlando, Jr., Esq.
Joseph M. Orlando, Jr., Esq.
